Case 1:15-cv-16143 Document 90: Filed 05/18/17 Page 1of1Pa

Fi
MAY 1 8 2017

IN THE UNITED STATES DISTRICT CQURT...... OIC

FOR THE SOUTHERN DISTRICT OF WEST VIRGIN] Se
AT BLUEFIELD ne na

    

  
 
  

 

 
  
  
 

HAFCO FOUNDRY AND MACHINE
COMPANY, INCORPORATED,

Plaintiff,

Vv. CIVIL ACTION NO. 1:15-16143

GMS MINE REPAIR AND
MAINTENANCE, INC.,

Defendant.

VERDICT FORM

We, the jury, find as follows:

1. Do you find by a preponderance of the evidence that
Defendant GMS infringed Hafco’s ~684 Patent?

Yes No

IF THE ANSWER TO QUESTION NO. 1 IS “YES”, PLEASE ANSWER
QUESTIONS NO. 2 AND 3. IF THE ANSWER TO QUESTION NO. 1 IS “NO”,
YOU DO NOT NEED TO ANSWER ANY ADDITIONAL QUESTIONS.

2. What is the total dollar amount of damages that Hafco
has proven by a preponderance of the evidence?

g laA3 Us. fe

3. Do you find by a preponderance of the evidence that
Defendant GMS’s infringement of the ‘684 Patent was willful?

Yes No

shia/i9

 

Foreperson Date

 
